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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW HAMPSHIRE

                                           :
UNITED STATES OF AMERICA                   :
                                           :
     v.                                    :                      Docket No.: 1:16-CR-33-JL
                                           :
DANIEL E. MUSSO                            :
                                           :



                           DEFENDANT’S WITNESS LIST

    Defendant Daniel E. Musso, by his attorneys, respectfully submits the within Witness List.

    The Defendant may present the following witnesses at trial:

           1.      David Musso
                   Raymond, NH

           2.      Daniel Musso
                   Brentwood, NH

           3.      Keith LaCroix
                   Fremont, NH

           4.      Michael Kinney
                   Raymond, NH

           5.      Lee LeBlanc
                   Londonderry, NH

           6.      Angela Greenwood
                   Concord, NH

           7.      Witnesses identified by the Government

    Defendant reserves the right to amend this list of witnesses upon notice to the parties.




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                                                            Respectfully submitted,

                                                            DANIEL E. MUSSO

                                                            By his attorneys,

                                                            PRETI FLAHERTY PLLP

Date: August 3, 2020                                   By: /s/ Simon R. Brown
                                                           Simon R. Brown, NH Bar #9279
                                                           P.O. Box 1318
                                                           Concord, NH 03302-1318
                                                           (603) 410-1555
                                                           sbrown@preti.com



                                CERTIFICATE OF SERVICE

       I hereby certify this 3rd day of August 2020 copies of the foregoing Witness List have been
forwarded to all parties of record electronically via ECF.

                                                            /s/ Simon R. Brown
                                                            Simon R. Brown, NH Bar #9279




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